                Case 8:22-cv-00983-DFM     Document 38    Filed 06/06/22   Page 1 of 3 Page ID #:243



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                        THE STATE BAR OF CALIFORNIA
                   16
                   17                        UNITED STATES DISTRICT COURT
                   18         CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
                   19
                   20   JOHN ROE 1, an individual; JANE           Case No. 8-22-CV-00983-DOC-DFM
                        ROE 1, an individual; JANE ROE 2 an
                   21   individual; JANE ROE 3, an individual,    THE STATE BAR OF CALIFORNIA’S
                        JOHN ROE 2, on behalf of themselves       NOTICE OF MOTION AND MOTION TO
                   22   and all others similarly situated,        DISMISS PLAINTIFFS’ FIRST
                                                                  AMENDED COMPLAINT
                   23                  Plaintiffs,
                              v.                                  Courtroom: 10A
                   24                                             Judge:     Hon. David O. Carter
                        THE STATE BAR OF CALIFORNIA;
                   25   TYLER TECHNOLOGIES, INC.;                 Date:      August 8, 2022
                        KEVAN SCHWITZER; RICK                     Time:      8:30 a.m.
                   26   RANKIN; and DOES 4 through 10,
                        inclusive,
                   27
                                       Defendants.
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COOLEY LLP                                                                      THE CA STATE BAR’S NOTICE OF
ATTORNEYS AT LAW
                                                                            MOTION AND MOTION TO DISMISS FAC
  LOS ANGELES
                                                                             CASE NO. 8-22-CV-00983-DOC-DFM
                Case 8:22-cv-00983-DFM       Document 38      Filed 06/06/22   Page 2 of 3 Page ID #:244



                   1    TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
                   2          PLEASE TAKE NOTICE THAT on August 8, 2022, at 8:30 a.m., or as soon
                   3    thereafter as this matter may be heard, defendant The State Bar of California (the
                   4    “State Bar”) will and hereby does move for the Court, pursuant to Rule 12(b)(6) of
                   5    the Federal Rules of Civil Procedure, for an order dismissing Plaintiffs’ First
                   6    Amended Complaint (“FAC”) with prejudice for failure to state a claim upon which
                   7    relief can be granted. The State Bar’s Motion is principally based on the grounds
                   8    that: (1) the State Bar is not subject to the California Information Practices Act of
                   9    1977 and the FAC fails to sufficiently allege the essential element of an adverse effect
                   10   on Plaintiffs; (2) the FAC fails to sufficiently allege the essential elements of a claim
                   11   for invasion of privacy under the California Constitution; (3) the California Tort
                   12   Claims Act bars liability for the FAC’s claims of common-law negligence and
                   13   negligence per se and the FAC fails to sufficiently allege the essential elements of
                   14   duty or damages; and (4) the FAC fails to sufficiently allege the essential elements
                   15   of a claim under Section 2 or 3 of the Sherman Antitrust Act and the State Bar is
                   16   otherwise immune from antitrust liability.
                   17         This Motion is made based on this Notice of Motion and Motion, the
                   18   accompanying Memorandum of Points and Authorities, the Request for Judicial
                   19   Notice, the Declaration of Tiana Demas, and all attached exhibits, all records and
                   20   papers on file in this action, and any evidence or oral argument offered at any hearing
                   21   on this motion.
                   22         Pursuant to Local Rule 7-3, this Motion is made following the conference of
                   23   counsel which took place on May 26, 2022.
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                                                                                    THE CA STATE BAR’S NOTICE OF
COOLEY LLP                                                          1           MOTION AND MOTION TO DISMISS FAC
ATTORNEYS AT LAW
  LOS ANGELES
                                                                                 CASE NO. 8-22-CV-00983-DOC-DFM
                Case 8:22-cv-00983-DFM    Document 38   Filed 06/06/22   Page 3 of 3 Page ID #:245



                   1    Dated: June 6, 2022                COOLEY LLP
                   2
                                                           /s/ Tiana Demas
                   3                                       Tiana Demas
                   4
                                                           Attorneys for Defendant
                   5                                       THE STATE BAR OF CALIFORNIA
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                                                                             THE CA STATE BAR’S NOTICE OF
COOLEY LLP                                                   2           MOTION AND MOTION TO DISMISS FAC
ATTORNEYS AT LAW
  LOS ANGELES
                                                                          CASE NO. 8-22-CV-00983-DOC-DFM
